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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________ District of
 __________ District of Delaware
                        __________

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            DAVIDsTEA (USA) Inc.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  ✔
                                                       Federal Employer Identification Number (EIN)       9 ___
                                                                                                          ___ 9 – 0___ 3___ 6___ 7   6 ___
                                                                                                                                 ___ ___ 9 ___
                                                                                                                                            6

                                                       Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      PricewaterhouseCoopers Inc.
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             CCAA proceeding before Superior Court of Quebec (Commercial Div.)
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ✔
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
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Debtor          DAVIDsTEA     (USA) Inc.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Canada
                                        ______________________________________________                   5430 Ferrier St.
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Mount-Royal, Quebec                      H4P 1M2
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Canada
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 1250 René-Lévesque Blvd. West, #2500
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Montreal, Quebec                          H3B 4Y1
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Canada
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              www.davidstea.com
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor        DAVIDsTEA     (USA) Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        ✔
                                            Debtor’s principal place of business or principal assets in the United States are in this district.
                                            Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:
                                             ___________________________________________________________________________.

                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                             ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       8 /s/ Claudio Filippone
                                            ________________________________________________          Claudio Filippone for PwC as Monitor
                                                                                                      _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         07/08/2020
                                                           __________________
                                                            MM / DD / YYYY



                                       8    ________________________________________________          _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       8 /s/ Mary F. Caloway
                                            _________________________________________________ Date                  07/08/2020
                                                                                                                   _________________
                                            Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                           Mary  F. Caloway
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Buchanan    Ingersoll & Rooney
                                           _________________________________________________________________________________________________
                                           Firm name
                                           919 N. Market Street, Suite 990
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           Wilmington
                                           ____________________________________________________ DE          19801
                                                                                                 __________________________________________
                                           City                                                            State         ZIP Code


                                           (302) 552-4200
                                           ____________________________________                            mary.caloway@bipc.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address




                                           3059                                                   DE
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In Re:                                       )       Chapter 15
                                             )
DAVIDSTEA INC.,                              )       Case No. 20-______ (__)
                                             )
Foreign Debtor in Foreign Proceeding.        )       Joint Administration Requested
________________________________________
In Re:                                 )             Chapter 15
                                       )
DAVIDSTEA (USA) INC.,                  )             Case No. 20-______ (__)
                                       )
Foreign Debtor in Foreign Proceeding.        )       Joint Administration Requested
________________________________________

              CORPORATE OWNERSHIP STATEMENT PURSUANT TO
         FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007(a)(1) AND 7007.1

               PricewaterhouseCoopers Inc. is the court-appointed monitor (the "Monitor") and

authorized foreign representative of DAVIDsTEA Inc. and DAVIDsTEA (USA) Inc. in

proceedings under Canada's Companies' Creditors Arrangement Act, R.S.C. 1985, c. C-36, as

amended, pending before the Superior Court of Quebec (Commercial Division).

               The Monitor hereby files this Corporate Ownership Statement pursuant to rules

1007(a)(1) and 7007.1 of the Federal Rule of Bankruptcy Procedure and states that the following

entities own 10% or more of any class of the corporation's equity interests as set forth below:

         DAVIDsTEA (USA) Inc. is a wholly-owned subsidiary of DAVIDsTEA Inc.

         The following are the entities owning 10% or more of DAVIDsTEA Inc.:

                     Entity                      Common

           Rainy Day Investments Ltd.              46%
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Dated: Wilmington, Delaware
       July 8, 2020
                                BUCHANAN INGERSOLL & ROONEY PC

                                Mary F. Caloway
                                Mary F. Caloway (No. 3059)
                                James D. Newell (PA No. 51337)
                                Mark Pfeiffer (PA No. 76245)
                                Tyler Dischinger (PA No. 314299)
                                919 North Market Street, Suite 990
                                Wilmington, Delaware 19801
                                (302) 552-4200 (telephone)
                                (302) 552-4295 (facsimile)
                                mary.caloway@bipc.com
                                james.newell@bipc.com
                                mark.pfeiffer@bipc.com
                                tyler.dischinger@bipc.com

                                Attorneys to PricewaterhouseCoopers Inc. as Monitor
                                and Foreign Representative of the Foreign Debtors




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In Re:                                        )      Chapter 15
                                              )
DAVIDSTEA INC.,                               )      Case No. 20-______ (__)
                                              )
Foreign Debtor in Foreign Proceeding.         )      Joint Administration Requested
________________________________________
In Re:                                 )             Chapter 15
                                       )
DAVIDSTEA (USA) INC.,                  )             Case No. 20-______ (__)
                                       )
Foreign Debtor in Foreign Proceeding.         )      Joint Administration Requested
________________________________________

              LIST FILED PURSUANT TO BANKRUPTCY RULE 1007(a)(4)(B)

         PricewaterhouseCoopers Inc. is the court-appointed monitor (the "Monitor") and

authorized foreign representative of DAVIDsTEA Inc. and DAVIDsTEA (USA) Inc.

(collectively, the “Foreign Debtors”) in proceedings (the “Canadian Proceeding”) under

Canada's Companies' Creditors Arrangement Act, R.S.C. 1985, c. C-36, as amended (the

"CCAA"), pending before the Superior Court of Quebec (Commercial Division) (the “Quebec

Court”). The Monitor files this list pursuant to Rule 1007(a)(4)(B) of the Federal Rules of

Bankruptcy Procedure and states as follows:

         1.     Names and addresses of all persons or bodies authorized to
                administer foreign proceedings of the Foreign Debtors.

       The Monitor is the only foreign representative appointed by the Quebec Court in the
Canadian Proceedings. The Monitor believes that, other than the Canadian Proceeding, there are
no foreign proceedings pending with respect to the Foreign Debtors. The Monitor’s address is:

                1250 Rene Levesque Boulevard West
                Suite 2500
                Montreal, Quebec
                H3B 4Y1
                Attn: Claudio Filippone

         2.     All parties to litigation pending in the United States in which
                the Foreign Debtors are parties at the time of the filing of the
                petition.

         See attached Schedule 1.
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      3.    Entities against whom provisional relief is being sought under
            11 U.S.C. §1519.

      See attached Schedule 1 and Schedule 2.


                                                BUCHANAN INGERSOLL & ROONEY
Dated: Wilmington, Delaware                     By: /s/ Mary F. Calwoway
       July 8, 2020                             Mary F. Caloway (No. 3059)
                                                James D. Newell (PA No. 51337)
                                                Mark Pfeiffer (PA No. 76245)
                                                Tyler Dischinger (PA No. 314299)
                                                919 North Market Street, Suite 990
                                                Wilmington, Delaware 19801
                                                (302) 552-4200 (telephone)
                                                (302) 552-4295 (facsimile)
                                                mary.caloway@bipc.com
                                                Attorneys for PricewaterhouseCoopers Inc., as
                                                Monitor and foreign representative of the
                                                Foreign Debtors




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                                     SCHEDULE 1
                               TO RULE 1007(a)(4)(B) LIST
                                (LITIGATION PARTIES)

NYC Department of Finance                        Anhing Corporation
59 Maiden Lane                                   c/o James Robert Maxwell
New York, NY 10038                               Rogers Joseph O’Donnell
                                                 311 California Street
Perla Mageno                                     San Francisco, CA 94104
c/o Joseph R. Manning, Jr., Esq.                 415-956-2828
Manning Law, APC
20062 SW Birch Street, Suite 200                 Bed Bath & Beyond, Inc.
Newport Beach, CA 92660-8860                     c/o Marcy Jill Bergman
Fax: (866) 843-8308                              Bryan Cave LLP
Phone: (949) 200-8755                            Three Embarcadero Center
                                                 7th Floor
Ellen Crumley                                    San Francisco, CA 94111-4070
c/o Steven M. Rubin, Esq.                        415-675-3400
The Rubin Law Corporation
1875 Century Park East, Suite 1230               C & S Wholesale Grocers, Inc.
Los Angeles, CA 90067                            c/o Edward Patrick Sangster
Fax: (310) 288-0207                              K&L Gates LLP
Phone: (310) 385-0777                            Four Embarcadero Center
                                                 Suite 1200
Abercrombie Fitch                                San Francisco, CA 94111
c/o Haynes Studnicka Kahan                       415-882-8200
200 W Adams #2175
Chicago, IL 60606                                Cost Plus, Inc.
(312) 332-6644                                   c/o Marcy Jill Bergman
                                                 Bryan Cave LLP
Hollister Co                                     Three Embarcadero Center
c/o Haynes Studnicka Kahan                       7th Floor
200 W Adams #2175                                San Francisco, CA 94111-4070
Chicago, IL 60606                                415-675-3400
(312) 332-6644
                                                 CTC Food International, Inc.,
                                                 Doing Business as Asian Food Grocer
Whitney R. Leeman, Ph.D                          c/o Charles Albert McPhee
c/o Clifford A. Chanler                          McPhee & McPhee
The Chanler Group                                1300 Clay Street, Suite 600
2560 Ninth Street                                Oakland, CA 94612
Parker Plaza, Suite 214                          510-567-0500
Berkeley, CA 94710-2565
510-848-8880




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Family Foods International, Inc.                 International Coffee & Tea, LLC
c/o James Robert Maxwell                         c/o Michelle Beigel Corash
Rogers Joseph O’Donnell                          Morrison & Foerster LLP
311 California Street                            425 Market St.
San Francisco, CA 94104                          San Francisco, CA 94105-2482
415-956-2828                                     415-268-7000

Frontier Co-Op                                   International Tea Importers Incorporated
c/o Margaret Carew Toledo                        c/o James Robert Maxwell
Peg Carew Toledo Law Corporation                 Rogers Joseph O’Donnell
3001 Douglas Blvd.                               311 California Street
Suite 340                                        San Francisco, CA 94104
Roseville, CA 95661-3853                         415-956-2828
916-791-0715
                                                 JFC International, INC.
Granum Incorporated.                             c/o James Robert Maxwell
c/o Anthony J. Cortez                            Rogers Joseph O’Donnell
Greenberg Traurig, LLP                           311 California Street
1201 K Street Suite 1100                         San Francisco, CA 94104
Sacramento, CA 95814                             415-956-2828
916-442-1111
                                                 Kim-Seng Company
Harris Tea Company LLC                           6121 Randolph St
344 New Albany Rd                                Commerce, California, 90040-3513
Moorestown, New Jersey, 08057-1190
                                                 L.A. Lucky Import Export, Inc.
Hocean Inc.                                      c/o Eugene Kim
c/o Margaret Carew Toledo                        Nano Law Group
Peg Carew Toledo Law Corporation                 595 Lincoln Avenue
3001 Douglas Blvd                                Pasadena, CA 91103
Suite 340                                        626-389-5001
Roseville, CA 95661-3853
916-791-0715                                     Numi, Inc.
                                                 c/o Howard A. Slavitt
Hsin Tung Yang Foods Company                     Coblentz Patch Duffy & Bass LLP
c/o Julia Graeser                                One Montgomery Street, Ste 3000
Barg Coffin Lewis & Trapp & Trapp, LLP           San Francisco, CA 94104
350 California St., 22nd Floor                   415-391-4800
San Francisco, CA 94104
415-228-5400                                     Peerless Coffee Company, Inc.
                                                 c/o James A. Geocaris
                                                 Lewis Brisbois Bisgaard & Smith LLP
                                                 333 Bush St., Suite 1100
                                                 San Francisco, CA 94104
                                                 415-362-2580




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Prince of Peace Enterprises, Inc.               Starbucks Corporation
c/o Malcolm D. Schick                           c/o Michele Beigel Corash
G&P - Schick                                    Morrison & Foerster LLP
A Professional Corporation                      425 Market St.
99 Almaden Blvd., Ste 740                       San Francisco, CA 941052482
San Jose, CA 95113                              415-268-7000
408-995-5050
                                                Starway Inc.
Quoc Viet Foods                                 c/o Margaret Carew Toledo
1967 N Glassell St                              Peg Carew Toldeo Law Corporation
Orange, California, 92865-4320                  3001 Douglas Blvd
                                                Suite 340
R.C. Bigelow, Inc.                              Roseville, CA 95661-3853
c/o Trenton H. Norris                           916-791-0715
Arnold & Porter Kaye Scholer LLP
Three Embarcadero Center                        Tawa Supermarket, Inc.
10th Floor                                      c/o Roseann C. Stevenson
San Francisco, CA 941114024                     Attorney at Law
                                                1105 Oleander Way
Rainbow Acres                                   Simi Valley, CA 93065
c/o Anthony J. Cortez                           805-210-2438
Greenberg Traurig, LLP
1201 K Street Suite 1100                        Teance Fine Teas
Sacramento, CA 95814                            c/o Joseph J. Erhlich
916-442-1111                                    Losch & Erhlich-Attorneys at Law
                                                425 California Street
                                                Suite 2025
Rockman Company (U.S.A.), Inc.                  San Francisco, CA 94104
c/o Margaret Carew Toledo                       415-956-8400
Peg Carew Toledo Law Corporation
3001 Douglas Blvd                               Teavana Corporation
Suite 340                                       c/o Michele Beigel Corash
Roseville, CA 95661-3853                        Morrison & Foerster LLP
916-791-0715                                    425 Market St.
                                                San Francisco, CA 94105-2482
Samuel & Company                                415-268-7000
5141 N 40Th St Ste 500
Phoenix, Arizona, 85018-2168                    Ten Ren Tea Co. of San Francisco, Ltd.
                                                c/o Anthony J. Cortez
Savemart Supermarkets                           Greenberg Traurig, LLP
c/o Anthony J. Cortez                           1201 K Street Suite 1100
Greenberg Traurig, LLP                          Sacramento, CA 95814
1201 K Street Suite 1100                        916-442-1111
Sacramento, CA 95814
916-442-1111




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The Art of Tea LLC                                  Wei-Chuan U.S.A., Inc.
748 Monterey Pass Rd                                c/o Margaret Carew Toledo
Monterey Park, California, 91754-3607               Peg Carew Toledo Law Corporation
                                                    3001 Douglas Blvd
The Hain Celestial Group, Inc.                      Suite 340
c/o Trenton H. Norris                               Roseville, CA 95661-3853
Arnold & Porter Kaye Scholer LLP                    916-791-0715
Three Embarcadero Center
10th Floor                                          Williams-Sonoma, Inc.
San Francisco, CA 94111-4024                        c/o James Robert Maxwell
                                                    Rogers Joseph O’Donnell
Twinings North America, Inc.                        311 California Street
777 Passaic Ave                                     San Francisco, CA 94104
Clifton, New Jersey, 07012-1884                     415-956-2828

Uncle Lee’s Tea Inc.                                Winneram International, Inc.
c/o Anthony J. Cortez                               c/o James Robert Maxwell
Greenberg Traurig, LLP                              Rogers Joseph O’Donnell
1201 K Street Suite 1100                            311 California Street
Sacramento, CA 95814                                San Francisco, CA 94104
916-442-1111                                        415-956-2828

Upton Tea Imports, LLC                              Yamamoto of Orient, Inc.
c/o Brenda K. Radmacher                             c/o James Robert Maxwell
Gordon & Rees LLP                                   Rogers Joseph O’Donnell
633 West 5th Street                                 311 California Street
52nd Floor                                          San Francisco, CA 94104
Los Angeles, CA 90071                               415-956-2828

-and-                                                Xavier Becerra
                                                    c/o Harrison M. Pollak
c/o Brenda K. Radmacher                             Deputy Attorney General
Wood, Smith, Henning & Berman LLP                   1515 Clay Street, 20th Flr
505 North Brand Blvd                                P.O. Box 70550
Ste 1100                                            Oakland, CA 94612
Glendale, CA 91203                                  510-622-2183
818-551-6000

Walong Marketing, Inc.                              Whitney R. Leeman, Ph.D
c/o Roseann C. Stevenson                            The Chanler Group
Attorney at Law                                     2560 Ninth Street
1105 Oleander Way                                   Parker Plaza, Suite 214
Simi Valley, CA 93065                               Berkeley, CA 947102565
805-210-2438                                        510-848-8880




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Starbucks Corporation                        Granum Incorporated
c/o Anthony J. Cortez                        c/o Anthony J. Cortez
Greenberg Traurig, LLP                       Greenberg Traurig, LLP
1201 K Street Suite 1100                     1201 K Street Suite 1100
Sacramento, CA 95814                         Sacramento, CA 95814
916-442-1111                                 916-442-1111


                                             Commissioner of Labor
                                             State of New York
                                             Albany, NY 12240




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                                         SCHEDULE 2
                                   TO RULE 1007(a)(4)(B) LIST
                     (ADDITIONAL PROVISIONAL RELIEF PARTIES-LANDLORDS)
                      Landlord                                C/O                                      Landlord Address                       City             State         ZIP
275 BLEEKER CORP                           Mark Perlgut                             255 West 90th Street                               New York         New York        10024
275 BLEEKER CORP                           Troutman Sanders LLP                     405 Lexington Avenue                               New York         New York        10174
JEM 6 REALTY LLC                           N/A                                      1124 Third Avenue                                  New York         New York        10065
JEM 6 REALTY LLC                           Belkin Burden Wenig & Goldman LLP        1124 Third Avenue                                  New York         New York        10065
1400 BURLINGAME, LP                        N/A                                      334 Brannan Street                                 San Francisco    California      94107
1645 DAMEN AVE LLC.                        Janel Management Corp                    274 Madison Avenue, Suite 702                      New York         New York        10016
MDN DEVELOPMENT, INC.                      N/A                                      1241 R.F.D.                                        Long Grove       Illinois        60047
MDN DEVELOPMENT, INC.                      N/A                                      14 Bridlewood Rd., Ste 200                         Northbrook       Illinois        60062
FRANCMEN REALTY INC.                       Francman Reaty LLC                       688 Avenue of the Americas                         New York         New York        10010
FRANCMEN REALTY INC.                       Markman Law PC                           55 East 59th Street, Suite 1700                    New York         New York        10022
EMPORIUM MALL LLC                          N/A                                      11601 Wilshire Boulevard, 11th floor               Los Angeles      California      90025
OASIS TEN MILK STREET LLC                  Wight & Company Incorporated             10 Cedar Street                                    Woburn           Massachusetts   01801
CHESTNUT HILL SHOPPING CENTER LLC          W/S Development Associates LLC           1330 Boylston Street                               Chestnut Hill    Massachusetts   02467
CHESTNUT HILL SHOPPING CENTER LLC          Goulston &Storrs, P.C.                   400 Atlantic Avenu                                 Boston           Massachusetts   02110‐3333
SHOPPING CENTER ASSOCIATES                 M.S. Management Associates Inc.          225 West Washinghton Street                        Indianapolis     Indiana         46204‐3438
THE RETAIL PROPERTY TRUST                  M.S. Management Associates Inc.          225 West Washinghton Street                        Indianapolis     Indiana         46204‐3438
MILLENNIUM PARK LIVING INC.                N/A                                      324 W. Touhy Ave                                   Park Ridge       Illinois        60068
MILLENNIUM PARK LIVING INC.                N/A                                      155 North Michigan Avenue, Suite 9003              Chicago          Illinois        60601
LFP HOLDINGS, LLC                          BBM Incorporated & Naperville Chamber 55 S. Main Street, Suite 351                          Naperville       Illinois        60540
LFP HOLDINGS, LLC                          N/A                                      361 Park Avenue, Suite 200                         Glencoe          Illinois        60022
NATICK MALL LLC.                           Natick Mall                              110 N. Wacker Dr.                                  Chicago          Illinois        60606
NATICK MALL LLC.                           Natick Mall                              1245 Worcester St., Suite 1218                     Natick           Massachusetts   01760
SUNVALLEY SHOPPING CENTER LLC              N/A                                      P.O. Box 67000                                     Detroit          Michigan        48267‐0579
WEST FARMS MALL LLC                        N/A                                      P.O. Box 67000                                     Detroit          Michigan        48267‐0555
KING OF PRUSSIA ASSOCIATES                 Kravco Simon Company                     225 West Washinghton Street                        Indianapolis     Indiana         46204‐3438
SDG FASHION MALL LIMITED PARTNERSHIP       M.S. Management Associates Inc.          225 West Washinghton Street                        Indianapolis     Indiana         46204‐3438
DEL AMO FASHION BENTER OPERATING COMPANY   M.S. Management Associates Inc.          225 West Washinghton Street                        Indianapolis     Indiana         46204‐3438
W/S/M HINGHAM PROPERTIES LLC               WS Asset Managmenet Inc.                 33 Boylston Street, Suite 3000                     Chestnut Hill    Massachusetts   02467
W/S/M HINGHAM PROPERTIES LLC               Goulston &Storrs, P.C.                   400 Atlantic Avenu                                 Boston           Massachusetts   02110‐3333
WEST VALLEY OWNER LLC                      N/A                                      2049 Century Park East, 41st floor                 Los Angeles      California      90067
WEST VALLEY OWNER LLC                      N/A                                      6100 Topanga Canyon Blvd                           Woodland Hills   California      91367
MOAC MALL HOLDINGS LLC.                    N/A                                      60 East Broadway                                   Bloomington      Minnesota       55425‐5550
OAKRIDGE MALL LLC                          N/A                                      2049 Century Park East, 41st floor                 Los Angeles      California      90067
OAKRIDGE MALL LLC                          N/A                                      925 Blossom Hill Road, Suite 2005                  San Jose         California      95123‐1294
WATER TOWER LLC                            Water Tower Place                        110 N. Wacker Dr.                                  Chicago          Illinois        60606
WATER TOWER LLC                            Water Tower Place                        845 N. Michigan Ave, Suite 987W                    Chicago          Illinois        60611
HAROLD A. READ TRUST                       N/A                                      21 Crosby Road                                     Berlin           Massachusetts   01503
HAROLD A. READ TRUST                       N/A                                      Church Street                                      Burlington       Vermont         05402‐0069
LIBERTY CENTER LLC.                        Steiner Real Estate Services LLC         4016 Townsfair Way, Suite 201                      Columbus         Ohio            43219
EKLECCO NEWCO LLC                          N/A                                      Four Clinton Square                                Syracuse         New York        13202‐1078
Brickell City Centre Retail, LLC           N/A                                      Suite 802, 799 Brickell Plaza                      Miami            Florida                 33131
Brickell City Centre Retail, LLC           N/A                                      Suite 802, 799 Brickell Plaza                      Miami            Florida                 33131
Brickell City Centre Retail, LLC           N/A                                      225 West Washington Street                         Indianapolis     Indiana         46204‐3438
Brickell City Centre Retail, LLC           N/A                                      225 West Washington Street                         Indianapolis     Indiana         46204‐3438
Macerich Niagara LLC                       N/A                                      1900 Military Road, Management Office              Niagara Falls    New York        14304‐1737
Macerich Niagara LLC                       Macerich                                 Suite 700, P.O. Box 2172, 401 Wilshire Boulevard   Santa Monica     California             90407
Freemall Associates, LLC                   N/A                                      Suite 1000, 3710 Route 9                           Freehold         New Jersey      07728‐4895
Freemall Associates, LLC                   Macerich                                 Suite 700, P.O. Box 2172, 401 Wilshire Boulevard   Santa Monica     California             90407
Alderwood Mall L.L.C.                      Alderwood Mall                           110 N. Wacker Drive                                Chicago          Illinois               60606
Alderwood Mall L.L.C.                      N/A                                      Room 127, 3000 184th Street S.W.                   Lynnwood         Washington             98037
Mayhaw, LLC                                NCP Management                           P.O. Box 590179                                    Newton           Massachusetts           02459
Market Street Retail South LLC             WS Asset Management, Inc.                Suite 3000, 33 Boylston Street                     Chestnut Hill    Massachusetts          02467
Market Street Retail South LLC             Goulston & Storrs, P.C.                  400 Atlantic Avenue                                Boston           Massachusetts   02110‐3333
Montgomery Mall Owner LLC                  N/A                                      41st Floor, 2049 Century Park East                 Los Angeles      California             90067
Simon/Chelsea Chicago Development, LLC     N/A                                      225 West Washington Street                         Indianapolis     Indiana         46208‐3438
Culver City Mall LLC                       N/A                                      41st Floor, 2049 Century Park East                 Los Angeles      California              90067
Evergreen Walk Lifestyle Center, LLC       Poag Shopping Centers, LLC               Suite 2200, 2650 Thousand Oaks Boulevard           Memphis          Tennessee              38118
Evergreen Walk Lifestyle Center, LLC       The Prudential Insurance Company of Am7 Giralda Farms                                       Madison          New Jersey              07940
Premium Outlet Partners, L.P.              Premium Outlet Partners, L.P.            225 West Washington Street                         Indianapolis     Indiana         46204‐3438
Simon/Clarksburg Development, LLC          Premium Outlet Partners, L.P.            225 West Washington Street                         Indianapolis     Indiana         46204‐3438
Oakbrook Shopping Center, LLC              Oakbrook Center                          110 N. Wacker Drive                                Chicago          Illinois               60606
Oakbrook Shopping Center, LLC              N/A                                      100 Oakbrook Center                                Oak Brook        Illinois               60523
Fashion Outlets of Chicago LLC             N/A                                      5220 Fashion Outlets Way, Management Office        Rosemont         Illinois        60018‐4811
Fashion Outlets of Chicago LLC             Macerich                                 P.O. Box 2172, Suite 700, 401 Wilshire Boulevard   Santa Monica     California             90407
BP Prucenter Acquisition LLC               Boston Properties Limited Partnership, PrSuite 1900, 800 Boylston Street                    Boston           Massachusetts   02199‐8103
BP Prucenter Acquisition LLC               Goulston & Storrs, P.C.                  400 Atlantic Avenue                                Boston           Massachusetts   02110‐3333
PFP Columbus II, LLC                       N/A                                      Floor 20, 180 E. Broad Street                      Columbus         Ohio                    43215
Brookfield Corners LLC                     I.M. Properties Management LLC           Suite 4025, 77 West Wacker Drive                   Chicago          Illinois               60601
Brookfield Corners LLC                     N/A                                      Suite 2200, 300 South Wacker Drive                 Chicago          Illinois               60606
Easton Town Center II, LLC                 Steiner Real Estate Services, LLC        Suite 201, 4016 Townsfair Way                      Columbus         Ohio                   43219


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